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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                                Case Number: 18-14821-LMI
WILL ZAMORA
      Debtor
____________________________/

                 MOTION FOR RECONSIDERATION OF ORDER GRANTING
                        MOTION TO WITHDRAW AS COUNSEL
                            (Limited to future notice to Debtor)
                 AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

         Nancy K Neidich, Standing Chapter 13 Trustee ("Trustee") files this Motion for

Reconsideration of Order Granting Motion to Withdraw as Counsel and states as follows:

         1) The Order granting the Motion to Withdraw as Counsel requires that "All future

pleadings and notices shall be served directly via email on the Debtor at

wzamora@bsuniverse.com."

         2) The Trustee's office is unable to serve the Debtor via email.

         3) As a pro se debtor, the Trustee will need to send letters to the Debtor, including letters

not filed with the Clerk of the Court.

         4) The Trustee requests that the Order Granting the Motion to Withdraw be amended to

permit the Trustee to serve the Debtor at a physical address.

         5) IF the Debtor does not have a physical address, the Trustee requests that she may serve

the Debtor by filing letters with the Court and that the Court require the Debtor to monitor the

docket for correspondence.

                                         RESPECTFULLY SUBMITTED:
                                                   NANCY K. NEIDICH, ESQUIRE
                                                   STANDING CHAPTER 13 TRUSTEE
                                                   P.O. BOX 279806
                                                   MIRAMAR, FL 33027-9806
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                                                    By: /s/___________________
                                                            Nancy K. Neidich, Esq.
                                                            Chapter 13 Trustee
                                                            Amy E. Carrington, Esq.
                                                            Senior Staff Attorney
                                                            FLORIDA BAR NO: 101877

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this Motion for Reconsideration of Order
Granting Motion to Withdraw as Counsel and the Notice of Hearing was served through NEF
on Leslie A Berkoff, Esq on behalf of Creditor Timothy Mosley and G Steven Fender on behalf
of Creditor Timothy Mosley and by US First Class Mail to the following on
___________________________:

Sandra Navarro-Garcia
7951 SW 40 St #202
Miami, FL 33155

Will Zamora
10395 SW 67th Avenue
Miami, Fl 33156




                                                    /s/
                                                    Amy E Carrington, Esq
